Appeal: 17-1351      Doc: 308       Filed: 11/14/2017 Pg: 1 of 3
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                               Supreme Court of the United States
                                      Office of the Clerk
                                  Washington, DC 20543-0001

                                                                                Scott S. Harris
                                                                                Clerk of the Court
                                                                                (202) 479-3011

                                             November 14, 2017

        Clerk
        United States Court of Appeals
          for the Fourth Circuit
        Lewis F. Powell Jr. Courthouse & Annex
        1100 East Main Street, Suite 501
        Richmond, VA 23219

               Re: Donald J. Trump, President of the United States, et al.
                   v. International Refugee Assistance Project, et al.,
                   No. 16-1436 (Your docket No. 17-1351)

        Dear Clerk:

                Attached please find a certified copy of the judgment of this Court in the above-entitled
        case. You may obtain a copy of the opinion cited in the judgment by visiting our website,
        http://www.supremecourt.gov.



                                                                  Sincerely,

                                                                  SCOTT S. HARRIS, Clerk

                                                                  By


                                                                  Hervé Bocage
                                                                  Judgments/Mandates Clerk

        Enc.
        cc:       All attorneys of record
Appeal: 17-1351     Doc: 308       Filed: 11/14/2017 Pg: 2 of 3
                  Case 8:17-cv-00361-TDC Document 235 Filed 11/14/17 Page 2 of 3

                            Supreme Court of the United States
                                   Office of the Clerk
                               Washington, DC 20543-0001
                                                                              Scott S. Harris
                                                                              Clerk of the Court
                                                                              (202) 479-3011


                                             November 14, 2017


        Mr. Omar Cassim Jadwat, Esq.
        125 Broad Street, 18th Floor
        New York, New York 10004


              Re: Donald J. Trump, President of the United States, et al.
                  v. International Refugee Assistance Project, et al.,
                  No. 16-1436

        Dear Mr. Jadwat:

                Today, a certified copy of the judgment of this Court in the above-entitled case was emailed
        to the Clerk of the United States Court of Appeals for the Fourth Circuit. You may obtain a copy
        of the opinion cited in the judgment by visiting our website, http://www.supremecourt.gov.


                                                             Sincerely,

                                                             SCOTT S. HARRIS, Clerk

                                                             By

                                                             Herve’ Bocage
                                                             Judgments/Mandates Clerk




        cc: All attorneys of record
            Clerk, USCA for the Fourth Circuit
                    (Your docket No. 17-1351)
Appeal: 17-1351      Doc: 308       Filed: 11/14/2017 Pg: 3 of 3
                   Case 8:17-cv-00361-TDC Document 235 Filed 11/14/17 Page 3 of 3

                             Supreme Court of the United States

                                               No. 16-1436


                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, ET AL.,

                                                                                   Petitioners
                                                     v.

                     INTERNATIONAL REFUGEE ASSISTANCE PROJECT, ET AL.


               ON PETITION FOR WRIT OF CERTIORARI to the United States Court of

        Appeals for the Fourth Circuit.

               THIS CAUSE having been submitted on the petition for writ of certiorari and the

        response thereto, and the Court having granted the petition.

                  ON CONSIDERATION WHEREOF, it is ordered and adjudged by this Court that

        the judgment of the above court in this cause is vacated, and the case is remanded to the

        United States Court of Appeals for the Fourth Circuit with instructions to dismiss as moot

        the challenge to Executive Order No. 13,780. United States v. Munsingwear, Inc., 340 U. S.

        36, 39 (1950).


                                             October 10, 2017
